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UN|TED STATES DISTR|CT COURT Fn£o itt _ o.c.
WESTERN DlSTR|CT OF TENNESSEE
MEMPHls DlvlsloN 05 JUii 15 Pl‘i h.= 014
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$BE.:%T_\| pis"r. cH>;rp
rig steele
-v- 2:02cR20438-01-Ml “ "

REG|NA SM|TH
Linda P. Khuma|o. CJA
Defense Attorney
P. O. Box 40184
Memphis, TN 38174

 

*A-M-E-N-D-E-D JUDGMENT |N A CR|MINAL CASE
(For OHenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the lndictment on October 27, 2003.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section Nafufe Of Offense Offense Number(s)
Conc|uded
18 U.S.C. §§ 922(g) and Felon in Possession of a Firearm 07/08/2002 1

924(€)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reforrn Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/14/1979 January 28, 2004
Deft’s U.S. l\/larshal No.: 18842-076

Defendant’s l\/lailing Address:

525 North Knight Street
West lVlemphis, AR 72301

/@@M fill

/@N PH|PPS N|CCALLA
UN| _ED JATES DISTR|CT JUDGE

 

June l~`> , 2005

Tnis document entered on the docket sheet i compliance
c
with Rule 55 and/or 32(b] FFiCrP on [Q' /§;’( 19

 

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Case No: 2:020R20438-01-|Vll Defendant Name: Regina SM|TH Page 2 0f4
iMPRiSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *15 vear§_(or 180 months).

The Court recommends to the Bureau of Prisons:

1. The defendant is remanded to the custody of the United States Marshal.

2. The defendant should be incarcerated in a facility within the Bureau of Prisons that can
provide care for individuals with serious mental disease

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. i\/larshal

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Case No: 2:020R2U438-01-M| Defendant Name: Regina SM|TH Page 3 of 4

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
B. The defendant shall refrain from the excessive use of aicohol and shall not purchase, pcssess, use.

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegaily sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:02CR20438-01-i\/ll Defendant Name: Regina SM|TH Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent cfa law
enforcement agency without the permission cf the court;

12. As directed by the probation off cer the defendant shall notify third paities of risks that may be
occasioned by the defendant’ s criminal record or personal history or characteristicsr and shall permit
the probation officer to make such notifications and to confirm the defendant’ s compliance with such
notiHcation requirement.

13. |f thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall submit to mental health testing and mental heath treatment programs
as directed by the Probation Office.

*3 The defendant shall cooperate with DNA collection as directed bv the Probation Office.

CR|M|NAL MONETARY PENALT|ES
The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payrnents. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution

$100.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

DRISTIC COUR - W'"ERNT DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:02-CR-20438 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

John Thomas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

